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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 1:22-cr-00265-RC-1
                                              :
TIMOTHY WAYNE WILLIAMS                        :
                                              :
                       Defendant.             :

                    JOINT MOTION TO CONVERT TRIAL DATE TO
                    PLEA HEARING AND TO SUSPEND DEADLINES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Timothy Wayne Williams, with the concurrence of

his attorney, move to suspend the currently imposed trial deadlines and to convert the February

21, 2023 trial date into a plea hearing.

                                                      Respectfully submitted,




FOR THE DEFENDANT                                     FOR THE UNITED STATES
                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052



/s/ Joseph R. Conte                    By:    /s/ James D. Peterson
Joseph Roll Conte                             James D. Peterson
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                           /s/ Nathaniel K. Whitesel
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